          Case 5:15-cr-00034-EJD Document 205 Filed 12/06/18 Page 1 of 3



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10
   Attorneys for Defendant Christian Reimer Stukenbrock
11

12                            UNITED STATES DISTRICT COURT

13                          NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN JOSE DIVISION

15 UNITED STATES OF AMERICA,                        Case No. CR-15-00034 EJD (VKD)
16                             Plaintiff,           DEFENSE COUNSEL’S RESPONSE TO
           vs.                                      GOVERNMENT’S MOTION FOR
17
                                                    FORFEITURE OF BOND AND
18 CHRISTIAN REIMER STUKENBROCK,                    JUDGMENT AGAINST DEFENDANT
                                                    AND FOR ENFORCEMENT OF
19                             Defendant.           SURETY’S OBLIGATIONS
20                                                  Date:    January 7, 2019
21                                                  Time:    1:30 p.m.
                                                    Judge:   Hon. Edward J. Davila
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     DEFENSE COUNSEL’S RESPONSE                                 CASE No. CR-15-00034 EJD (VKD)
           Case 5:15-cr-00034-EJD Document 205 Filed 12/06/18 Page 2 of 3



 1          Matthew J. Jacobs was appointed by the Court on January 9, 2018 to represent Christian

 2 Stukenbrock in connection with the Indictment dated January 14, 2015. In connection with that

 3 appointment, Mr. Jacobs and his colleagues Jennifer S. Freel, Erica Connolly, and Adam W. Crider,
 4 from Vinson & Elkins, LLP, (collectively, “Defense Counsel”), were set to begin trial on November

 5 27, 2018. On November 26, 2018, Defense Counsel received an email from the defendant

 6 indicating that he had left the jurisdiction and would not be appearing for trial. Defense Counsel
 7 promptly notified the government and court of this development. Now the government has brought

 8 the instant motion seeking forfeiture of the bond executed by the defendant and his daughter.

 9          Defense Counsel has not had any contact with the defendant since receiving the email on

10 November 26, 2018. Accordingly, Defense Counsel takes no position regarding the government’s
11 motion, and does not intend to appear at the hearing unless ordered to do so by the Court.

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13                                                       Respectfully Submitted,

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15 DATED: December 6, 2018                               /s/ Matthew J. Jacobs
                                                         Matthew J. Jacobs
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                                                         Attorney for Defendant Christian Reimer
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                                                         Stukenbrock
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     DEFENSE COUNSEL’S RESPONSE                                         CASE No. CR-15-00034 EJD (VKD)
          Case 5:15-cr-00034-EJD Document 205 Filed 12/06/18 Page 3 of 3



 1                                   CERTIFICATE OF SERVICE

 2          The undersigned certifies that on December 6, 2018, the foregoing document was

 3 electronically filed with the Clerk of the Court for the UNITED STATES DISTRICT COURT,
 4 NORTHERN DISTRICT OF CALIFORNIA, using Court's Electronic Case Filing (ECF) system.

 5 The ECF system routinely sends a “Notice of Electronic Filing” to all attorneys of record who have

 6 consented to accept this notice as service of this document by electronic means.
 7
     Dated: December 6, 2018                            By: /s/ Matthew J. Jacobs
 8                                                      Matthew J. Jacobs
                                                        Attorney for Defendant
 9
                                                        CHRISTIAN REIMER STUKENBROCK
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     CERTIFICATE OF SERVICE                                            CASE No. CR-15-00034 EJD (VKD)
